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                            IN THE
                 UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF WASHINGTON



SUSAN SOTO PALMER, et al.,              Case No. 3:22-CV-5035-RSL

           Plaintiffs,

      v.

STEVEN HOBBS, in his official ca-
pacity as Secretary of State of Wash-
ington, and the STATE OF WASH-
INGTON,

           Defendants,

      and,

JOSE TREVINO, ISMAEL G.
CAMPOS, and State Representa-
tive ALEX YBARRA,

     Intervenor-Defendants.




              EXPERT REPORT OF SEAN P. TRENDE, Ph.D.
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                                                            Expert Qualifications — 1


1     Expert Qualifications

1.1    Career

       I serve as Senior Elections Analyst for Real Clear Politics. I joined Real Clear
Politics in January of 2009 after practicing law for eight years. I assumed a fulltime
position with Real Clear Politics in March of 2010. Real Clear Politics is a company of
approximately 50 employees, with its main offices in Washington D.C. It produces one
of the most heavily trafficked political websites in the world, which serves as a one-stop
shop for political analysis from all sides of the political spectrum and is recognized as
a pioneer in the field of poll aggregation. Real Clear Politics produces original content,
including both data analysis and traditional reporting.
       My main responsibilities with Real Clear Politics consist of tracking, analyzing,
and writing about elections. I collaborate in rating the competitiveness of Presidential,
Senate, House, and gubernatorial races. As a part of carrying out these responsibilities,
I have studied and written extensively about demographic trends in the country, exit
poll data at the state and federal level, public opinion polling, and voter turnout and
voting behavior. In particular, understanding the way that districts are drawn and how
geography and demographics interact is crucial to predicting United States House of
Representatives races, so much of my time is dedicated to that task.
       I am currently a Visiting Scholar at the American Enterprise Institute, where my
publications focus on the demographic and coalitional aspects of American Politics.
       I am also a Lecturer at The Ohio State University.


1.2    Publications and Speaking Engagements

       I am the author of the 2012 book The Lost Majority: Why the Future of Govern-
ment is up For Grabs and Who Will Take It. In this book, I explore realignment theory.
It argues that realignments are a poor concept that should be abandoned. As part of this
analysis, I conducted a thorough analysis of demographic and political trends beginning
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                                                            Expert Qualifications — 2


in the 1920s and continuing through modern times, noting the fluidity and fragility of
the coalitions built by the major political parties and their candidates.
       I also co-authored the 2014 Almanac of American Politics. The Almanac is con-
sidered the foundational text for understanding congressional districts and the represen-
tatives of those districts, as well as the dynamics in play behind the elections. My focus
was researching the history of and writing descriptions for many of the 2012 districts,
including tracing the history of how and why they were drawn the way that they were
drawn. Because the 2014 Almanac covers the 2012 elections, analyzing how redistricting
was done was crucial to my work. I have also authored a chapter in Larry Sabato’s
post-election compendium after every election dating back to 2012.
       I have spoken on these subjects before audiences from across the political spectrum,
including at the Heritage Foundation, the American Enterprise Institute, the CATO
Institute, the Bipartisan Policy Center, and the Brookings Institution. In 2012, I was
invited to Brussels to speak about American elections to the European External Action
Service, which is the European Union’s diplomatic corps. I was selected by the United
States Embassy in Sweden to discuss the 2016 elections to a series of audiences there and
was selected by the United States Embassy in Spain to fulfill a similar mission in 2018.
I was invited to present by the United States Embassy in Italy, but was unable to do so
because of my teaching schedule.


1.3    Education

       I received my Ph.D. in political science at The Ohio State University in 2023. I
passed comprehensive examinations in both methods and American Politics. The first
chapter of my dissertation involves voting patterns on the Supreme Court from 1900 to
1945; the second chapter involves the application of integrated nested LaPlace approxi-
mations to enable the incorporation of spatial statistical analysis in the study of United
States elections. The third chapter of the dissertation involves the use of communities
of interest in redistricting simulations. In pursuit of this degree, I also earned a Mas-
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                                                            Expert Qualifications — 3


ter’s Degree in Applied Statistics. My coursework for my Ph.D. and M.A.S. included,
among other things, classes on G.I.S. systems, spatial statistics, issues in contemporary
redistricting, machine learning, non-parametric hypothesis tests and probability theory.
I also earned a B.A. from Yale University in history and political science in 1995, a Juris
Doctor from Duke University in 2001, and a Master’s Degree in political science from
Duke University in 2001.
       In the winter of 2018, I taught American Politics and the Mass Media at Ohio
Wesleyan University. I taught Introduction to American Politics at The Ohio State
University for three semesters from Fall of 2018 to Fall of 2019, and again in Fall of
2021. In the Springs of 2020, 2021, 2022 and 2023, I taught Political Participation and
Voting Behavior at The Ohio State University. This course spent several weeks covering
all facets of redistricting: how maps are drawn, debates over what constitutes a fair map,
measures of redistricting quality, and similar topics. I also taught survey methodology in
Fall of 2022 and Spring of 2024.


1.4    Prior Engagements as an Expert

       A full copy of all cases in which I have testified or been deposed is included on my
c.v, attached as Exhibit 1. In 2021, I served as one of two special masters appointed by
the Supreme Court of Virginia to redraw the districts that will elect the Commonwealth’s
representatives to the House of Delegates, state Senate, and U.S. Congress in the following
decade. The Supreme Court of Virginia accepted those maps, which were praised by
observers from across the political spectrum. E.g., “New Voting Maps, and a New Day, for
Virginia,” The Washington Post (Jan. 2, 2022), available at https://www.washingtonpo
st.com/opinions/2022/01/02/virginia-redistricting-voting-mapsgerrymandee;
Henry Olsen, “Maryland Shows How to do Redistricting Wrong. Virginia Shows How to
Do it Right,” The Washington Post (Dec. 9, 2021), available at https://www.washin
gtonpost.com/opinions/2021/12/09/maryland-virginia-redistricting/; Richard
Pildes, “Has VA Created a New Model for a Reasonably Non-Partisan Redistricting
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                                                                      Introduction — 4


Process,” Election Law Blog (Dec. 9, 2021), available at https://electionlawblog.or
g/?p=126216.
       In 2019, I was appointed as the court’s expert by the Supreme Court of Belize.
In that case I was asked to identify international standards of democracy as they relate
to malapportionment claims, to determine whether Belize’s electoral divisions (similar
to our congressional districts) conformed with those standards, and to draw alternative
maps that would remedy any existing malapportionment.
       I served as a Voting Rights Act expert to counsel for the Arizona Independent
Redistricting Commission in 2021 and 2022.



2     Introduction

2.1    Scope of Engagement

       I have been retained by Intervenor-Defendants in the above-captioned action, to
evaluate the remedial maps submitted by Plaintiffs. I have been retained and am being
compensated at a rate of $450.00 per hour to provide my expert analysis.


2.2    Data Utilized

       For purposes of this project, I utilized the following data:


    • Block Assignment files provided by plaintiffs;

    • Election results projected to the census block level, downloaded from the Redis-
      tricting Data Hub (https://redistrictingdatahub.org/;)

    • Census data for Citizen Voting Age Population by race, downloaded from https:
      //www.census.gov/programs-surveys/decennial-census/about/voting-rig
      hts/cvap.html
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                                              Analysis of Remedial Maps 1 and 2 — 5


3     Analysis of Remedial Maps 1 and 2

       Although five remedial maps have been submitted, there are only three variants of
the actual remedial districts, with further variations on how the surrounding districts are
treated. I therefore break my analysis into three parts – one for each proposed remedial
district. This section covers the first two maps.


3.1    Overview

       Maps 1 and 2 both use the configuration depicted in Figure 1 for their remedial
VRA district:


                Figure 1: Proposed VRA District in Remedial Maps 1 and 2




       This district combines populations from Yakima, Pasco, and several small towns
along the Yakima River.
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                                             Analysis of Remedial Maps 1 and 2 — 6


3.1.1    Remedial Map 1

        Remedial Map 1, however, includes a cascade of changes that extend beyond the
borders of the proposed remedial VRA district (which has been renumbered to 14 in all
remedial maps). Figure 2, for example, shows which of the districts in the Enacted Map
are changed in Remedial Map 1. Overall, 14 districts, or 28.6% of the districts in the
state, are altered in Remedial Map 1.



    Figure 2: Enacted Map, with Districts Altered in Remedial Map 1 Highlighted




        Similarly, Figure 3 shows the districts in Remedial Map 1 with the districts that
were altered from the Enacted Map highlighted.
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                                                   Analysis of Remedial Maps 1 and 2 — 7

   Figure 3: Remedial Map 1, with Districts Altered from Enacted Map Highlighted




        A final visual aid for understanding what Remedial Map 1 does is found in Figure 4.
This highlights the Enacted Plan districts that are changed in Map 1. It also depicts the
census blocks1 that are shifted between districts from the Enacted Plan to the remedial
plan by highlighting them in red.
   1
    The United States Census Bureau Reports the results of the Decennial Census at various levels. The
“quarks” of the census data are what are known as census blocks, which are small geographic areas that
typically conform to major geographic boundaries or other visible features, such as rivers, roadways,
train tracks, and so forth. Census blocks are grouped together to form block groups, which in turn are
grouped together to form census tracts, which are large portions of counties.
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                                            Analysis of Remedial Maps 1 and 2 — 8

Figure 4: Enacted Map, with Census Blocks Shifted Into Different Districts in Remedial
Map 1 Highlighted in Red




          The following table summarizes these population movements. For each of the
Enacted Districts that are changed, it shows to which districts its residents are moved.
In other words, 21,098 residents of Enacted District 2 are moved into Remedial District
31; 21,006 residents of Enacted District 5 are moved into Remedial District 12; and so
forth.
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                                             Analysis of Remedial Maps 1 and 2 — 9




       In total, the map shifts 574,251 individuals among the districts, including 247,170
residents who do not reside in Enacted Districts 14, 15 or 16 and 147,050 residents who
do not reside in either Enacted Districts 14, 15 or 16 or in Remedial Districts 14, 15 or
16.
       Finally, the changes take place over much of the state, with blocks being shifted
in 28 of the state’s 39 counties, including several in western Washington. Overall, six
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                                            Analysis of Remedial Maps 1 and 2 — 10


districts are moved entirely out of seven counties, while seven districts are moved into
nine counties.




3.1.2     Remedial Map 2

         Remedial Map 2 alters fewer districts than does Remedial Map 1. Figure 5 shows
which of the districts in the Enacted Map are changed in Remedial Map 2. Overall, the
boundaries of 11 districts, or 22.4% of the districts in the state, are altered in Remedial
Map 2.
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                                          Analysis of Remedial Maps 1 and 2 — 11

    Figure 5: Enacted Map, with Districts Altered in Remedial Map 2 Highlighted




      Similarly, Figure 6 shows the districts in Remedial Map 2 with the districts that
were altered from the Enacted Map highlighted.
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                                            Analysis of Remedial Maps 1 and 2 — 12

   Figure 6: Remedial Map 2, with Districts Altered from Enacted Map Highlighted




       Finally, Fig. 7 highlights the Enacted Plan districts that are changed in Map 2.
It also depicts the census blocks that are shifted between districts from the Enacted Plan
to the remedial plan by highlighting them in red.
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                                          Analysis of Remedial Maps 1 and 2 — 13

Figure 7: Enacted Map, with Census Blocks Shifted Into Different Districts in Remedial
Map 2 Highlighted in Red




      We can once again see the degree to which the Remedial Map disrupts the Enacted
Map in the following table:
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                                             Analysis of Remedial Maps 1 and 2 — 14




       In total, the map shifts 506,922 individuals among the districts, including 168,630
residents who do not reside in Enacted Districts 14, 15 or 16 and 88,244 residents who
do not reside in either Enacted Districts 14, 15 or 16 or in Remedial Districts 14, 15 or
16.
       Finally, the changes take place over much of the state, with blocks being shifted in
21 of the state’s 39 counties, including in several western Washington counties. Overall,
six districts are moved entirely out of seven counties, while seven districts are moved into
nine counties.
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                                             Analysis of Remedial Maps 1 and 2 — 15




3.2    HCVAP

       I was asked to identify the Hispanic Citizen Voting Age Population in the district
with the highest Hispanic Citizen Voting Age Population in plaintiffs’ proposed remedial
districts, and to compare it to the HCVAP in the Enacted Plan District 15. Estimating
this is a tricky task. Because the census only reports citizen voting age population at
the block group level (see supra note 1), and because the districts divide block groups,
the population estimates must be estimated for the blocks. Those blocks can then be
aggregated up to give an estimate of the HCVAP on a district-wide level.
       The way that this is typically done is to take the population of the block group, and
then apportion it to the blocks according to some known population of the blocks. For
example, suppose that you had 1,000 Hispanic citizens of voting age in a block group, and
that the block group contains three blocks: Block A, Block B and Block C. These blocks
have voting age populations (which are known from the decennial census) of 500, 1500
and 2000, respectively. An analyst might observe that these blocks contain 12.5%, 37.5%
and 50% of the voting age population of the block group, respectively, and apportion 125
Hispanic Citizens of Voting Age from the block group to Block A (1,000 x 12.5%), 375
to Block B (1,000 x 37.5%) and 500 to Block C (1,000 x 50%). There are other ways you
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                                            Analysis of Remedial Maps 1 and 2 — 16


could do this. One might use the Hispanic Voting Age Population, or overall Voting Age
Population, or other techniques to create the estimates. Most of these techniques will
give the same answer, however, within a few tenths of a percentage point.
       For purposes of this report, I have weighted the CVAP to the Total Voting Age
Population for each block from the 2020 census, and the HCVAP to the Hispanic Voting
Age Population for each block. The blocks were then aggregated.



      HCVAP Estimates of VRA Districts in Remedial 1 and 2, and Enacted Map

          Year   HCVAP% (Rem. Maps 1 and 2)          HCVAP% (Enacted Map)

          2021                 51.7%                            52.6%

          2020                 51.3%                            51.9%

          2019                 49.8%                            50.0%




3.3    Compactness of the District Shapes

       I was asked to consider the compactness of the districts in Remedial Maps 1 and
2, compared to the Enacted Map. In particular, I was asked to examine the analysis of
Dr. Oskooii. First, and critically, Dr. Oskooii reports the overall compactness for all of
the state’s 49 districts in the various remedial proposals, and notes that they are similar
to the Enacted Map. Oskooii Report at 13.
       This is not the whole story. While Dr. Oskooii does change a surprisingly large
number of districts to remedy a violation occurring in a single district, he nevertheless
leaves many other districts intact in his remedial maps. Since the compactness metrics
of most of the districts in the remedial maps are unchanged by definition, even fairly
gratuitous decreases in the compactness of the other districts will not change the overall
compactness of a remedial map when caluclated on a statewide basis.
       This report supplements Dr. Oskooii’s aggregate analysis by examining the com-
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                                               Analysis of Remedial Maps 1 and 2 — 17


pactness of the individual districts that are altered in each remedial map. While there are
hundreds of district compactness metrics available, I focus on the two metrics employed
by Dr. Oskooii: Reock and Polsby-Popper. At this stage in the litigation, I suspect that
these metrics have been fully defined and explored previously, so I will be brief. The
Reock score imagines a circle around the district that touches the district boundary in
at least two points but never crosses that boundary. The score reflects the percentage of
that circle’s area that the district will fill. Thus, the more distended the district becomes,
the worse it scores. A circle would have a perfect Reock score of 1; a line would have a
Reock score of 0.
       The Polsby-Popper score imagines a circle with the same perimeter as the district.
The score is the percentage of that circle’s area that the district would fill. Thus, as a
district grows arms and inlets, its perimeter will increase. This will in turn increase the
perimeter of the circle, which will increase the circle’s area, decreasing the percentage of
the circle that the district will fill, leading to a lower score.
       The following table shows the 10 least compact district districts using the Reock
scores for the Enacted Plan, and Remedial Plans 1 and 2. The compactness of additional
districts could easily be extracted from the accompanying code.
       We begin with the Reock Scores. Districts that are changed in either Remedial
Plan 1 or Remedial Plan 2 are highlighted.
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                                            Analysis of Remedial Maps 1 and 2 — 18




       Under all 3 plans, District 42 remains the least compact district. That is un-
surprising, as its shape is largely dictated by the elongated shape of county Whatcom
County. District 2, located in southern Pierce County and portions of eastern Thurston
County, is the second-least compact in both the Enacted Plan and under Remedial Plan
1 (where it is made even less compact). Remedial Plan 2 makes this district slightly more
compact.
       District 14 would be less compact than all but these two Enacted Plan Districts
using the Reock Score in either remedial map. Dr. Oskoii’s Remedial Map 1 makes four
districts less compact than the third-least compact district in the Enacted Plan, while
Remedial Map 2 is even worse, making six districts less compact than the third-least
compact district in the Enacted Plan. It makes District 15 less compact than any district
in the Enacted Plan, save for District 42 (which again, is likely forced by the shape of
Whatcom County to have a low Reock score).
       Remedial Map 1 makes Districts 2, 5, 7, 9, 14, 15, 17, 20, and 49 less compact –
in some cases, substantially so – while Districts 8, 12, 13, 16 and 31 are made marginally
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                                           Analysis of Remedial Maps 1 and 2 — 19


more compact. Of particular note, the proposed remedial district sees its Reock score
drop from 0.531 to 0.219, taking it from one of the most compact districts in the map to
one of the least compact districts in the map.




      Here, only three districts are made more compact, while nine districts are made less
compact. Districts 13, 14, 15 and 17 all see significant reductions in their compactness;
only District 31 is made appreciably more compact under this metric.
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                                            Analysis of Remedial Maps 1 and 2 — 20


      For Polsby-Popper, the story is much the same. Under the Enacted Map, only
three of the districts that Dr. Oskooii changes are among the 10 least compact districts.
Under Remedial Map 1 that number is 6 and under Remedial Map 2 that number is 5.
Only one district has a Polsby-Popper score under 0.2 in the Enacted Plan – a district
that largely follows the irregular boundaries of Renton and Tukwila. Under the two
remedial plans that number grows to four.




      Once again, most of the districts that are redrawn under this map are made less
compact. Under Remedial Map 1, 11 districts are made less compact, while just three are
made more compact. Districts 14 and 17 stand out as having particularly large decreases
in their compactness.
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                                           Analysis of Remedial Maps 1 and 2 — 21




       Under Remedial Map 2, every district that is changed is made less compact using
the Polsby-Popper score, with the exception of District 9. Districts 14 and 17 once again
stand out.




3.4    Compactness of Population

       I was also asked to examine how District 14 in Remedial Maps 1 and 2 are put
together. In particular, I was asked to look at whether there was a compact minority
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                                                    Analysis of Remedial Maps 1 and 2 — 22


population at the core of the district, or whether the district stitched together discrete
clusters of minority groups to achieve the 50% + 1 threshold.
         The answer is the latter. Not only do the maps stitch together far-flung Hispanic
populations, they do so while weaving in and out of otherwise compact communities
that are geographically close to one another. Whatever data were used as the basis for
drawing the maps – and I have no particular reason to question Dr. Oskooii’s assurances
that he directly consulted neither racial nor political data – the maps nevertheless carve
out Hispanic areas and Democratic areas with razor-like accuracy across a wide swath
of south-central Washington, creating appendages that wrap into heavily Hispanic and
Democratic areas in order to build the district.
         We begin with choropleth maps. Choropleth maps area traditional “area-based”
maps, where some areal unit (here, voting districts, or VTDs 2 ) are shaded to correspond
with some data (here, percentage Hispanic CVAP). We can first look at the maps on a
district-wide basis. Note that white areas have zero population; attempting to calculate
a HCVAP here returns a null value.
  2
      VTDs are a census unit that are similar to precincts, although they are not always identical
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                                                  Analysis of Remedial Maps 1 and 2 — 23

              Figure 8: HCVAP of VTDs, Remedial Map 1 and 2, District 14




        These color scales on these maps are truncated at 30% and 70% HCVAP. In my
experience, allowing the color scale to run from 0% to 100% risks losing a good deal of
data, as differences in the crucial 40% - 60% HCVAP range are blended together. This
approach has been accepted in many courts in which I have testified, and has never been
challenged by a court.
        As you can see, the district begins with a heavy cluster of Hispanic citizens in
Pasco, before looping around to the south and covering wide swaths of heavily White
precincts. It then picks up a cluster of heavily Hispanic cities along the Yakima River,
while ignoring heavily non-Hispanic White neighboring cities.
        The following table illustrates this. It shows all of the cities 3 in Benton, Franklin
and Yakima counties, the District to which they are assigned, and the Hispanic Citizen
Voting Age Population for each. They are then arranged by HCVAP. When a city appears
   3
    Many of these places are not “cities”, in the strictest sense of the term. In the interest of word
economy, I use it as a general term for locations ranging from census-designated places to cities
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                                             Analysis of Remedial Maps 1 and 2 — 24


more than once, it means that the city is split; the HCVAP for the portion of the city
contained in each district is reported separately.




       As you can see, only two of the 24 cities with the lowest HCVAPs are included
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                                            Analysis of Remedial Maps 1 and 2 — 25


in District 14. Finley is to the South of Pasco; District 14 crosses it in order to reach
Pasco. White Swan is located in the heart of the Yakima Indian reservation and is
overwhelmingly Native America. On the other hand, the 14th includes every majority-
Hispanic city in the three counties, with the exception of Basin City (located well to the
north of Pasco) and Tieton (Northwest of Yakima) and Outlook (pop. 184).
       We can also confine our inquiry to the cities in Yakima County.




       You can see this better in the following maps, which zoom in on Pasco and Yakima:
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                                          Analysis of Remedial Maps 1 and 2 — 26

     Figure 9: HCVAP of VTDs, Remedial Map 1 and 2, District 14, Pasco Area




      12 of the 18 majority Hispanic VTDs are placed in District 14 in the area depicted
above, along with 23 of the 286 non-majority Hispanic VTDs.
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                                          Analysis of Remedial Maps 1 and 2 — 27

    Figure 10: HCVAP of VTDs, Remedial Map 1 and 2, District 14, Yakima Area




      8 of the 14 majority Hispanic VTDs are placed in District 14 in the area depicted
above, along with 21 of the 110 non-majority Hispanic VTDs.
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                                           Analysis of Remedial Maps 1 and 2 — 28

    Figure 11: HCVAP of VTDs, Remedial Map 1 and 2, District 14, Yakima River




       28 of the 31 majority Hispanic VTDs are placed in District 14 in the area depicted
above, along with 21 of the 210 non-majority Hispanic VTDs.
       One of the limitations of choropleth maps, however, is that they don’t reveal
populations. A VTD with 10 Hispanic residents and 10 White residents is treated the
same as a VTD with 1,000 Hispanic residents and 1,000 White residents. While there
may be times where those differences are immaterial, there may also be times where the
difference is important.
       To account for this, I will typically employ dot density maps. Dot density maps
have been utilized in cases at least back to the Bethune-Hill case, where Dr. Rodden
employed them to examine the distribution of residents of districts. In a dot density
map, census blocks are taken as the basis for the district. In each block, a dot is drawn
for every member of a group, or every ten members, or every 100 members, depending
on the scale of the map. For these maps, I employ 1 blue dot for 10 Hispanic Citizens of
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                                            Analysis of Remedial Maps 1 and 2 — 29


Voting Age, an orange “x’ for 10 White Citizens of Voting Age, and a purple “+” for 10
members of other races. Obviously there is some rounding involved, but in the aggregate
that typically does not matter.



Figure 12: Dot Density Map of Population, Remedial Maps 1 and 2, District 14. Here,
one blue dot represents 10 Hispanic citizens of voting age, one orange x represents 10
White citizens of voting age, and one purple + represents 10 citizens of voting age of
other races.




       Most of the district is, in fact, largely uninhabited. You can, however, see how
the district carefully avoids crossing over into heavily White areas to reach out and take
in geographically dispersed Hispanic communities. In other words, there is no single
Hispanic population in the district that is sufficient to constitute 50%+1 of the Citizen
Voting Age Population. Rather, there are multiple isolated pockets of Hispanic clustering
that are patched together to make this district work.
       It is also apparent by examining the dotplots of Pasco, Yakima, and the areas in
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                                           Analysis of Remedial Maps 1 and 2 — 30


between how the district carves out heavily Hispanic areas while avoiding areas that are
more densely White.



Figure 13: Dot Density Map of Population, Remedial Maps 1 and 2, District 14, in the
Pasco area. Here, one blue dot represents 10 Hispanic citizens of voting age, one orange
x represents 10 White citizens of voting age, and one purple + represents 10 citizens of
voting age of other races.
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                                           Analysis of Remedial Maps 1 and 2 — 31

Figure 14: Dot Density Map of Population, Remedial Maps 1 and 2, District 14, in the
Yakima area. Here, one blue dot represents 10 Hispanic citizens of voting age, one orange
x represents 10 White citizens of voting age, and one purple + represents 10 citizens of
voting age of other races.
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                                           Analysis of Remedial Maps 1 and 2 — 32

Figure 15: Dot Density Map of Population, Remedial Maps 1 and 2, District 14, in the
Yakima River area. Here, one blue dot represents 10 Hispanic citizens of voting age,
one orange x represents 10 White citizens of voting age, and one purple + represents 10
citizens of voting age of other races.




3.5    Political Impact

       I was also asked to examine the political impact of the maps. Obviously, District
15 is transformed into a Republican-leaning district, while District 14 is made more
Democratic. The question is whether other districts were quietly made more Republican
or Democratic in meaningful ways.
       I’ve once again examined the districts that were changed in Remedial Map 1,
under a variety of specifications. “Total Vote, 2016-2020” examines the vote total for
the 2020 Presidential, gubernatorial, Lieutenant Governor, Secretary of State, Treasurer,
Auditor, Attorney General, Commissioner of Public Lands and Insurance Commissioner
elections, the 2018 Senate election, and the 2016 Presidential, gubernatorial, Lieutenant
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                                             Analysis of Remedial Maps 1 and 2 — 33


Governor, Secretary of State, Treasurer, Auditor, Attorney General, Commissioner of
Public Lands and Insurance Commissioner elections. I understand that Dave’s Redis-
tricting App (“DRA”) has been used for some of the Demonstration Maps here. The
“Total Vote, DRA” examines the six elections included in the DRA composite score for
2016-2020: the 2020 and 2016 presidential elections, the 2018 and 2020 senate elections,
the 2016 gubernatorial election, and the 2020 attorney general election.
       The data are displayed as follows: For each race or composite index, the Demo-
cratic lead over the Republican in the Enacted District is displayed on the left, while
the Democratic lead over the Republican in the Remedial District is displayed on the
left. Determining whether a change is electorally meaningful is a tricky endeavor, but in
general if a district sees movement in a result within the +/- 10% mark, it is potentially
noteworthy.
       A larger version of this image is available as a part of Exhibit 2.




       As you can see, the map creates effects beyond simply transforming District 14
into a more Democratic district (and District 15 into a more reliably Republican one).
District 12, which always voted for the Republican candidate under the Enacted Map,
is transformed into a district where the Republican candidate sometimes loses, and fre-
quently has close calls. The district moves from one where, from 2016-2020, the statewide
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                                            Analysis of Remedial Maps 1 and 2 — 34


candidate has won on average by 8.4 points to one where the candidate wins by 5.1 points.
Using the DRA composite, it moves from one the Republican typically wins by 7.9 points
to one where the Republican wins by 3.4 points.
       More dramatically, District 17 moves from a district where the average statewide
Republican candidate has won, on average, by 2.6 points to one where that candidate has
won by 0.6% on average. Using the DRA elections, it flips from one where the Republican
has won by 0.9% on average to one where the Democrat has won by 1.4% on average.
       Both of these districts are presently represented by Republicans. There do not
appear to be any examples of countervailing shifts that would make a Democratic incum-
bent appreciably more vulnerable. This could have been avoided rather easily. As you
can see from below, District 17 expands into slightly Republican areas of Klickitat County
under both Remedial Maps 1 and 2. However, the district gives up heavily Republican
areas of Clark County to the already-heavily Republican District 20. Had the mapmaker
decided instead to place parts of southeastern Vancouver into District 49, Republican
incumbents would not have been endangered.
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                                            Analysis of Remedial Maps 1 and 2 — 35

Figure 16: Democratic Percentage in VTDs, Enacted and Remedial Maps 1 and 2, District
17




      Likewise, District 12 is shifted leftward by excising from District 12 Republican-
leaning East Wenatchee (60.4% Republican, using DRA’s composite), where incumbent
Republican Senator Brad Hawkins lives, along with two marginally Republican precincts
and a Democratic precinct from Wenatchee itself; the most heavily Democratic precincts
in Wenatchee are left within District 12.
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                                           Analysis of Remedial Maps 1 and 2 — 36

Figure 17: Democratic Percentage in VTDs, Enacted and Remedial Maps 1 and 2, District
12




      Likewise, rather than pushing into the eastern portions, more heavily Republican
areas of District 5, Remedial Map 1 adds Snoqualmie (61.1% Democratic, using DRA’s
composite), helping push District 5 leftward.
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                                            Analysis of Remedial Maps 1 and 2 — 37

Figure 18: Democratic Percentage in VTDs, Enacted and Remedial Maps 1 and 2, Dis-
tricts 12 and 5




      Because Remedial Map 2 changes fewer districts, does not alter District 12, and
uses the same version of District 17, examining its effects provide no new information.
      A larger version of this image is available as a part of Exhibit 2.




      Overall, these maps do not merely create a new, more heavily Democratic district
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                                            Analysis of Remedial Maps 1 and 2 — 38


in southern Washington. They do so by weakening several Republican incumbents in
unrelated portions of the map.


3.6    Incumbency

       I was also asked to examine the effect of the proposed remedial maps on incum-
bency. That is to say, I was asked to examine whether the districts pair incumbents
together in the same district, or move them into new districts.
       Counsel provided me with a spreadsheet containing the names, addresses, and
party labels of 147 Washington state legislators. Using R, a statistical programming
language commonly used in statistics and the social sciences, I was able to obtain the
latitude and longitude coordinates for the addresses for incumbent senators and repre-
sentatives in districts that were being changed. Using this “geocoded” data, I was able
to place the candidates’ addresses in the district in which they reside.
       The following table describes incumbents who are paired together under the En-
acted Map and under Remedial Maps 1 and 2. Each District should have three members
– a senator and two representatives – but these districts have more.
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                                         Analysis of Remedial Maps 1 and 2 — 39




      Under Remedial Map 1, Mark Mullet and Phil Fortunato are paired together in
a district that, as described above, is fairly Democratic. House Minority Leader Drew
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                                             Analysis of Remedial Maps 3 and 4 — 40


Stokesbury is drawn into the same district, along with Democratic Representatives Bill
Ramos and Lisa Callan. In District 7, two Republican Senators are paired together. In
District 15, three Republican House members are paired together. In District 17, three
Republican House members are paired together in a district that, as described above, will
become appreciably more Democratic.
       In District 16, Sen. Nikki Torres is paired with Sen. Perry Dozier. Only 9.9% of
the voting age population of her new district would come from her current district.
       Remedial Map two will have a similar impact, albeit limited to districts 15, 16 and
17.



4     Analysis of Remedial Maps 3 and 4

       The analysis that follows largely follows the structure of the analysis in the preced-
ing section, and thus assumes reader familiarity with it. Given the length of the report,
this section will not repeat the explanations of the maps and figures from the previous
section.


4.1    Overview

       Maps 3 and 4 both use the following district for as their remedial VRA district:
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                                            Analysis of Remedial Maps 3 and 4 — 41

             Figure 19: Proposed VRA District in Remedial Maps 3 and 4




       Like the remedial district from Remedial Maps 1 and 2, this district combines
populations from Yakima, Pasco, and several small towns along the Yakima River. It
differs from that configuration in that it drops some of the VTDs between Pasco and
Prosser, and adds population to the Southwest, giving the district a shape that somewhat
resembles an octopus slithering along the ocean floor.
       Like Remedial Maps 1 and 2, Map 3, involves second and third-order changes that
extend well beyond the scope of District 14. Here, for example , are the Enacted Districts
that are changed in Remedial Map 3.
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                                            Analysis of Remedial Maps 3 and 4 — 42

    Figure 20: Enacted Map, with Districts Altered in Remedial Map 3 Highlighted




       The boundaries of 13 districts are changed, or 26.5% of the districts in the state.
The changed districts ultimately look like this:
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                                              Analysis of Remedial Maps 3 and 4 — 43

  Figure 21: Remedial Map 3, with Districts Altered from Enacted Map Highlighted




        We can see this in the following figure, which highlights the census blocks that were
moved from district-to-district by shading them red and placing a dashed line outlining
them.
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                                           Analysis of Remedial Maps 3 and 4 — 44

Figure 22: Enacted Map, with Census Blocks Shifted Into Different Districts in Remedial
Map 3 Highlighted in Red




      The following table summarizes the population movements. It takes all of the cen-
sus blocks shifted between districts, groups them by the Enacted District and Remedial
District in which they are placed, and then summarizes the total population. In other
words, 15,545 residents of Enacted District 2 are moved into Remedial District 31; 15,697
residents of Enacted District 5 are moved into Remedial District 12; and so forth.
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                                            Analysis of Remedial Maps 3 and 4 — 45




       In total, the map moves 531,551 individuals around, including 213,350 residents
who do not reside in Enacted Districts 14, 15 or 16 and 113,230 residents who do not
reside in either Enacted Districts 14, 15 or 16 or in Remedial Districts 14, 15 or 16.
       Finally, the changes take place over much of the state, with blocks being moved
in 28 of the state’s 39 counties, including several in western Washington. Overall, six
districts are moved entirely out of six counties, while six districts are moved into eight
counties.
       With Remedial Map 4, fewer districts are changed, although the impact is still
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                                              Analysis of Remedial Maps 3 and 4 — 46


notable. The Enacted Districts that are changed in Remedial Map 4 are highlighted
below:


    Figure 23: Enacted Map, with Districts Altered in Remedial Map 4 Highlighted




         The boundaries of 10 districts are changed, or 20.4% of the districts in the state.
The changed districts ultimately look like this:
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                                              Analysis of Remedial Maps 3 and 4 — 47

  Figure 24: Remedial Map 4, with Districts Altered from Enacted Map Highlighted




        We can see this in the following figure, which highlights the census blocks that were
moved from district-to-district by shading them red and placing a dashed line outlining
them.
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                                            Analysis of Remedial Maps 3 and 4 — 48

Figure 25: Enacted Map, with Census Blocks Shifted Into Different Districts in Remedial
Map 4 Highlighted in Red




      Notably, District 13 is substantially reconfigured, as it is pushed over the Cascades,
past Mount Rainier, and into the Seattle Metropolitan Area, in both King and Pierce
counties, stretching from Ephrata to Enumclaw.
      The following table summarizes the population movements.
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                                            Analysis of Remedial Maps 3 and 4 — 49




       In total, the map moves 476,440 individuals around, including 152,886 residents
who do not reside in Enacted Districts 14, 15 or 16 and 66,392 residents who do not
reside in either Enacted Districts 14, 15 or 16 or in Remedial Districts 14, 15 or 16.
       Finally, the changes take place over much of the state, with blocks being moved in
21 of the state’s 39 counties, including in several western Washington counties. Overall,
two districts are moved entirely out of three counties, while four districts are moved into
six different counties.
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                                             Analysis of Remedial Maps 3 and 4 — 50




4.2      HCVAP

         I was asked to identify the Hispanic Citizen Voting Age Population in the district
with the highest Hispanic Citizen Voting Age Population among the Yakima Valley dis-
tricts, and to compare it to the HCVAP in the Enacted Plan District 15. The results are
reported below:



      HCVAP Estimates of VRA Districts in Remedial 3 and 4, and Enacted Map

               Year   HCVAP% (Rem. 3 and 4)        HCVAP% (Enacted Map)

               2021             50.2%                        52.6%

               2020             50.1%                        51.9%

               2019             48.0%                        50.0%




4.3      Compactness

         I was asked to consider the compactness of the districts in Remedial Maps 3 and
4, compared to the Enacted Map, in the same way as I did above for Remedial Maps 1
and 2.
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                                             Analysis of Remedial Maps 3 and 4 — 51


       The following table shows the 10 least compact district districts using the Reock
scores for the Enacted Plan, and Remedial Plans 3 and 4. Once again, compactness
scores for additional districts could easily be extracted from the accompanying code.
       We begin with the Reock Scores. Districts that are changed in either Remedial
Plan 3 or Remedial Plan 4 are highlighted.




       Under all 3 plans, District 42 again remains the least compact district, which is
unsurprising given Whatcom County. District 2, located in southern Pierce County and
portions of eastern Thurston County, is the second-least compact in both the Enacted
Plan and under Remedial Plan 3.
       Remedial Map 3 makes Districts 5, 7, 9, 14, 15 and 17 less compact – in some cases,
substantially so – while Districts 2, 8, 12, 13, 16, 20 and 31 are made more compact. Of
particular note, the proposed remedial district sees its Reock score drop from 0.323 (as
District 15 in the Enacted Plan) to 0.223 (As District 14 in the Remedial Plan), making
it one of the least compact districts in the map.
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                                             Analysis of Remedial Maps 3 and 4 — 52




      The same is largely true for Remedial Map 4:




      For Polsby-Popper, the story is much the same. Under the Enacted Map, only
three of the districts that Dr. Oskooii changes are among the 10 least compact districts.
Under Remedial Map 3 that number is 6 and under Remedial Map 4 that number is 3.
Only one district has a Polsby-Popper score under 0.2 in the Enacted Plan – a district
that largely follows the irregular boundaries of Renton and Tukwila. Under the two
remedial plans that number grows to three.
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                                          Analysis of Remedial Maps 3 and 4 — 53




      Once again, most of the districts that are redrawn under this map are made less
compact. Under Remedial Map 3, 9 districts are made less compact, while just four are
made more compact. Districts 14 and 17 stand out as having particularly large decreases
in their compactness. Using Polsby-Popper scores, the remedial district is the second-
least compact district on the map, save for a district whose compactness is driven by
municipal boundaries.
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                                               Analysis of Remedial Maps 3 and 4 — 54


         Under Remedial Map 4, seven districts are made less compact, while just three
are made more compact, using Polsby-Popper as the metric.




4.4      Population Distribution

         The changes in this map occur as a result of removing some precincts between
Pasco and Grandview, and then adding some additional precincts in western Klickitat
County. The maps in Pasco, Yakima, and the area between Grandview and Yakima, are
only changed by a few precincts. Therefore, the same analysis from Maps 1 and 2 applies
here.


4.5      Political Impact

         I was also asked to examine the political impact of the maps. Once again, District
15 is transformed into a Democratic-leaning district, while District 14 is made more
Republican. The question is whether other districts were quietly made more Republican
or Democratic in meaningful ways.
         I’ve once again examined the districts that were changed in Remedial Map 3, under
a variety of specifications.
         A larger version of this image is available as a part of Exhibit 2.
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                                           Analysis of Remedial Maps 3 and 4 — 55




      Once again, beyond the changes to Districts 14 and 15, District 12 is made more
Democratic, and is turned from a district carried by former President Donald Trump into
one carried by President Joe Biden. Because District 17 is not pushed as far into red
areas of Klickitat County as it is in its configuration for Maps 1 and 2, it is made even
more Democratic.
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                                            Analysis of Remedial Maps 3 and 4 — 56

Figure 26: Democratic Percentage in VTDs, Enacted and Remedial Maps 3 and 4, District
17




       District 12 once again gives up Republican-leaning East Wenatchee, and once
again takes in bluer areas of District 5.
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                                        Analysis of Remedial Maps 3 and 4 — 57

Figure 27: Democratic Percentage in VTDs, Enacted and Remedial Maps 3, District 12
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                                            Analysis of Remedial Maps 3 and 4 — 58

Figure 28: Democratic Percentage in VTDs, Enacted and Remedial Maps 3, District 12




      Because Remedial Map 4 changes fewer districts, does not alter District 12, and
uses the same version of District 17, examining its effects provide no new information.
      A larger version of this image is available as a part of Exhibit 2.
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                                            Analysis of Remedial Maps 3 and 4 — 59


4.6    Incumbency

       Like the earlier maps, the changes here pit multiple Republican incumbents against
each other or places them in unfavorable districts. In particular, Senator Torres is placed
in a district based in Walla Walla where just 7.4% of the VAP is drawn from her previous
district. District 7 also pairs two Senators, while Districts 15, 16, and 17 involve three
Republican House incumbents being placed in the same district. Map 4, which avoids
disrupting as many districts, confines the changes to districts 15, 16 and 17.
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                               Analysis of Remedial Maps 3 and 4 — 60
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                                                    Analysis of Remedial Map 5 — 61


5    Analysis of Remedial Map 5

       Map 5 is the least disruptive map. Only four districts are changed, all within the
Yakima Valley: Districts 13, 14, 15 and 16. This allows for a relatively truncated analysis.
The catch, however, is that the district reduces the HCVAP of District 14 below 47%.



     HCVAP Estimates of VRA Districts in Remedial 3 and 4, and Enacted Map

                 Year   HCVAP% (Rem. 5)        HCVAP% (Enacted Map)

                 2021          46.9%                      52.6%

                 2020          45.9%                      51.9%

                 2019          44.7%                      50.0%




       We can view our now-familiar introductory maps here:
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                                       Analysis of Remedial Map 5 — 62

        Figure 29: Proposed VRA District in Remedial Maps 5
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                                            Analysis of Remedial Map 5 — 63

Figure 30: Enacted Map, with Districts Altered in Remedial Map 5 Highlighted
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                                             Analysis of Remedial Map 5 — 64

Figure 31: Remedial Map 5, with Districts Altered from Enacted Map Highlighted
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                                                  Analysis of Remedial Map 5 — 65

Figure 32: Enacted Map, with Census Blocks Shifted Into Different Districts in Remedial
Map 5 Highlighted in Red




      The map moves 190,745 people around, including just 15,673 who were not in
districts 14, 15 or 16. No new counties are impacted.
      The districts that are changed do become appreciably less compact using this
approach. District 16 in particular becomes the least compact district on the map, using
either the Polsby-Popper or Reock score.
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                                                   Analysis of Remedial Map 5 — 66




       In terms of politics, there are few changes to district partisanship. The Hispanic
population is concentrated in Yakima.



                       Figure 33: District 14 in Remedial Map 5




       Finally, the map does not pair any Senate incumbents. In the House, Represen-
tatives Mosbrucker, Klicker and Rude, all Republicans, are placed together in District
16, while Representatives Dent, Ybarra and Corry are placed together in District 13.
Sen. Torres is left in District 15, however a majority of the Voting Age Population in the
district (51.4%) will be new to her. Just 25% of the CVAP in her district is Hispanic.
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                                                                    Conclusion — 67


6     Conclusion

        The following table summarizes the HCVAPs of the various proposed remedial
maps.



    Summary HCVAP Estimates of VRA Districts in Remedial and Enacted Maps

                 Year   Maps 1 and 2   Maps 3 and 4   Map 5   Enacted Map

                 2021      51.7%          50.2%       46.9%       52.6%

                 2020      51.3%          50.1%       45.9%       51.9%

                 2019      49.8%          48.0%       44.7%       50.0%




        Overall, Maps 1-4 disrupt the districts of several Republican incumbents, improve
the opportunities for Democrats in districts well beyond the opportunity district that
the law demands, and make several districts significantly less compact. They create a
chain reaction in districts that stretches across much of the state. Map 5 mitigates some
(but not all) of these problems, but does so at the expense of lowering the HCVAP
substantially.
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                                                                 Conclusion — 68


      I declare under penalty of perjury under the laws of the State of Ohio that the
foregoing is true and correct to the best of my knowledge and belief. Executed on 22
December 2023 in Delaware, Ohio.




               Sean P. Trende
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                                                         Exhibit 1 — 69




7   Exhibit 1
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                                                                       Exhibit 1 — 70


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                                                                     Exhibit 1 — 71


BOOKS AND BOOK CHAPTERS

Larry J. Sabato, ed., The Red Ripple, Ch. 15 (2023).

Larry J. Sabato, ed., A Return to Normalcy?: The 2020 Election that (Almost) Broke
America Ch. 13 (2021).

Larry J. Sabato, ed., The Blue Wave, Ch. 14 (2019).

Larry J. Sabato, ed., Trumped: The 2016 Election that Broke all the Rules (2017).

Larry J. Sabato, ed., The Surge:2014’s Big GOP Win and What It Means for the Next
Presidential Election, Ch. 12 (2015).

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Barone, Kraushaar, McCutcheon & Trende, The Almanac of American Politics 2014
(2013).

The Lost Majority: Why the Future of Government is up for Grabs – And Who Will Take
It (2012).

PREVIOUS EXPERT TESTIMONY AND/OR DEPOSITIONS

Dickson v. Rucho, No. 11-CVS-16896 (N.C. Super. Ct., Wake County) (racial gerry-
mandering).

Covington v. North Carolina, No. 1:15-CV-00399 (M.D.N.C.) (racial gerrymandering).

NAACP v. McCrory, No. 1:13CV658 (M.D.N.C.) (early voting).

NAACP v. Husted, No. 2:14-cv-404 (S.D. Ohio) (early voting).

Ohio Democratic Party v. Husted, Case 15-cv-01802 (S.D. Ohio) (early voting).

Lee v. Virginia Bd. of Elections, No. 3:15-cv-357 (E.D. Va.) (early voting).

Feldman v. Arizona, No. CV-16-1065-PHX-DLR (D. Ariz.) (absentee voting).
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A. Philip Randolph Institute v. Smith, No. 1:18-cv-00357-TSB (S.D. Ohio) (political
gerrymandering).

Whitford v. Nichol, No. 15-cv-421-bbc (W.D. Wisc.) (political gerrymandering).

Common Cause v. Rucho, No. 1:16-CV-1026-WO-JEP (M.D.N.C.) (political gerryman-
dering).

Mecinas v. Hobbs, No. CV-19-05547-PHX-DJH (D. Ariz.) (ballot order effect).

Fair Fight Action v. Raffensperger, No. 1:18-cv-05391-SCJ (N.D. Ga.) (statistical anal-
ysis).

Pascua Yaqui Tribe v. Rodriguez, No. 4:20-CV-00432-TUC-JAS (D. Ariz.) (early voting).

Ohio Organizing Collaborative, et al v. Ohio Redistricting Commission, et al, No. 2021-
1210 (Ohio) (political gerrymandering).

NCLCV v. Hall, No. 21-CVS-15426 (N.C. Sup. Ct.) (political gerrymandering).

Szeliga v. Lamone, Case No. C-02-CV-21-001816 (Md. Cir. Ct.) (political gerryman-
dering).

Montana Democratic Party v. Jacobsen, DV-56-2021-451 (Mont. Dist. Ct.) (early vot-
ing; ballot collection).

Carter v. Chapman, No. 464 M.D. 2021 (Pa.) (map drawing; amicus).

NAACP v. McMaster, No. 3:21-cv-03302 (D.S.C.) (racial gerrymandering).

Graham v. Adams, No. 22-CI-00047 (Ky. Cir. Ct.) (political gerrymandering).

Harkenrider v. Hochul, No. E2022-0116CV (N.Y. Sup. Ct.) (political gerrymandering).

LULAC v. Abbott, Case No. 3:21-cv-00259 (W.D. Tex.) (racial/political gerrymander-
ing/VRA).
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Moore et al., v. Lee, et al., (Tenn. 20th Dist.) (state constitutional compliance).

Agee et al. v. Benson, et al., (W.D. Mich.) (racial gerrymandering/VRA).

Faatz, et al. v. Ashcroft, et al., (Cir. Ct. Mo.) (state constitutional compliance).

Coca, et al. v. City of Dodge City, et al., Case No. 6:22-cv-01274-EFM-RES (D. Kan.)
(VRA).

Milligan v. Allen, Case No. 2:21-cv-01530-AMM (N.D. Ala.) (VRA).

Nairne v. Ardoin, NO. 22-178-SDD-SDJ (M.D. La.) (VRA).

Robinson v. Ardoin, NO. 22-211-SDD-SDJ (M.D. La.) (VRA).

Republican Party v. Oliver, No. D-506-CV-2022-00041 (N.M. Cir. Ct. (Lea County))
(political gerrymandering).

COURT APPOINTMENTS

Appointed as Voting Rights Act expert by Arizona Independent Redistricting Commis-
sion (2020)

Appointed Special Master by the Supreme Court of Virginia to redraw maps for the
Virginia House of Delegates, the Senate of Virginia, and for Virginia’s delegation to the
United States Congress for the 2022 election cycle.

Appointed redistricting expert by the Supreme Court of Belize in Smith v. Perrera, No.
55 of 2019 (one-person-one-vote).

INTERNATIONAL PRESENTATIONS AND EXPERIENCE

Panel Discussion, European External Action Service, Brussels, Belgium, Likely Outcomes
of 2012 American Elections.

Selected by U.S. Embassies in Sweden, Spain, and Italy to discuss 2016 and 2018 elections
to think tanks and universities in area (declined Italy due to teaching responsibilities).
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Selected by EEAS to discuss 2018 elections in private session with European Ambas-
sadors.

TEACHING

American Democracy and Mass Media, Ohio Wesleyan University, Spring 2018.

Introduction to American Politics, The Ohio State University, Autumns 2018, 2019, 2020,
Spring 2018.

Political Participation and Voting Behavior, Springs 2020, 2021, 2022, 2023.

Survey Methodology, Fall 2022, Spring 2024.

PUBLICATIONS

James G. Gimpel, Andrew Reeves, & Sean Trende, “Reconsidering Bellwether Locations
in U.S. Presidential Elections,” Pres. Stud. Q. (2022) (forthcoming, available online at
http://doi.org/10.1111/psq.12793).

REAL CLEAR POLITICS COLUMNS

Full archives available at http://www.realclearpolitics.com/authors/sean_trend
e/
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